                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)

The Estate of MALCOLM J. BRYANT,                    )
                                                    )
                                      Plaintiff,    )
                                                    )
                       v.                           )    Case No. ELH-19-cv-00384
                                                    )
BALTIMORE POLICE DEPARTMENT, et al.,                )
                                                    )
                                      Defendants.   )

                            CLAWBACK STIPULATION AND ORDER

       This matter comes before the Court by stipulation of Plaintiff The Estate of Malcolm

Bryant, Defendants William Ritz, Barry Verger, and the Baltimore Police Department, and the

Quattrone Center for the Fair Administration of Justice at the University of Pennsylvania

(“Quattrone”) (collectively, “the parties”) to address the production of certain documents by

Quattrone. Having found that the parties by, between, and among their respective counsel have

stipulated and agreed to the terms set forth herein, and good cause having been shown, the

following stipulation shall be entered:

       WHEREAS, the parties have agreed to stipulate to protect certain privileged and

otherwise protected documents, data (including electronically stored information) and other

information, including without limitation, metadata (collectively “Documents”), produced by

Quattrone against claims of waiver and inadvertent production if they are produced in response

to the subpoenas issued by Plaintiff The Estate of Malcolm Bryant and Defendants William Ritz

and Barry Verger in the case of Estate of Malcolm Bryant v. Baltimore City Police Department,

ELH-19-384, pending in the United States District Court for the District of Maryland. A copy of




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Plaintiff’s and Defendants’ subpoenas and riders are attached hereto as Exhibit 1 (collectively,

“Subpoena”).

       WHEREAS, Quattrone has agreed to produce large volumes of Documents in response

to the subpoenas. Quattrone wishes to comply with the Subpoena deadline and complete

compliance expeditiously, while preserving and without waiving any privileges applicable to the

information contained in the Documents produced.

       WHEREAS, to comply with the Subpoena deadline, Quattrone may be required to

produce certain categories of Documents that have been subject to minimal or no attorney review

(the “Disclosures”). This Stipulation and Order is designed to foreclose any arguments that by

making such Disclosures, the disclosure or production of Documents subject to a legally

recognized claim of privilege, including without limitation the attorney-client privilege, work-

product doctrine, or other applicable privilege:

               (a)     Was not inadvertent by Quattrone;

               (b)     That Quattrone did not take reasonable steps to prevent the disclosure of

                       privileged Documents;

               (c)     That the Quattrone did not take reasonable or timely steps to rectify such

                       Disclosure; and/or

               (d)     That such Disclosure acts as a waiver of applicable privileges or

                       protections associated with such Documents.

       WHEREAS, because the purpose of this Stipulation is to protect and preserve privileged

Documents, the parties agree they are bound as follows from and after the date their counsel

have signed it, even if such execution occurs prior to Court approval.




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       Accordingly, the parties hereby agree pursuant to Federal Rules of Evidence 502(d) and

(e) as follows:

       1.         The disclosure or production of Documents by Quattrone subject to a legally

recognized claim of privilege, including without limitation the attorney-client privilege and the

work-product doctrine, to a Receiving Party, shall in no way constitute the voluntary disclosure

of such Document.

       2.         The inadvertent disclosure or production by Quattrone shall not result in the

waiver of any privilege, evidentiary protection or other protection associated with such

Document as to the Receiving Party, and shall not result in any waiver of an applicable legal

privilege.

       3.         If, during this litigation, a party determines that any Document produced by

Quattrone is or may reasonably be subject to a legally recognizable privilege (“Protected

Document”):

                  (a)    The Receiving Party shall: (i) refrain from reading the Protected

                         Document any more closely than is necessary to ascertain that it is

                         privileged or otherwise protected from disclosure; (ii) immediately notify

                         Quattrone in writing it has discovered Documents believed to be

                         privileged or protected; (iii) specifically identify the Protected Documents

                         by Bates number range or hash value, and, (iv) within ten (10) days of

                         discovery by the Receiving Party, return, sequester, or destroy all copies

                         of such Protected Documents, along with any notes, abstracts or

                         compilations of the content thereof. To the extent that a Protected

                         Document has been loaded into a litigation review database under the



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                     control of the Receiving Party, the Receiving Party shall have all

                     electronic copies of the Protected Document extracted from the database.

                     Where such Protected Documents cannot be destroyed or separated, they

                     shall not be reviewed, disclosed, or otherwise used by the Receiving Party.

                     Notwithstanding, the Receiving Party is under no obligation to search or

                     review Quattrone’ s Documents to identify potentially privileged or work

                     product Protected Documents.

              (b)    If Quattrone intends to assert a claim of privilege or other protection over

                     Documents identified by the Receiving Party as Protected Documents,

                     Quattrone will, within ten (10) days of receiving the Receiving Party’s

                     written notification described above, inform the Receiving Party of such

                     intention in writing and shall provide the Receiving Party with a log for

                     such Protected Documents consistent with the requirements of the Federal

                     Rules of Civil Procedure, setting forth the basis for the claim of privilege..

                     If any portion of a Protected Document does not contain privileged

                     information, Quattrone shall also provide to the Receiving Party a

                     redacted copy of the document that omits the information that the

                     Quattrone believes is subject to a claim of privilege or other protection.

       4.     If, during this litigation, Quattrone determines it has produced a Protected

Document:

              (a)    Quattrone may notify the Receiving Party of such inadvertent production

                     in writing, and demand the return of such documents. Such notice shall be

                     in writing, however, it may be delivered orally on the record at a



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                      deposition, promptly followed up in writing. Quattrone’ s written notice

                      will identify the Protected Document inadvertently produced by bates

                      number range or hash value, the privilege or protection claimed, and the

                      basis for the assertion of the privilege and shall provide the Receiving

                      Party with a log for such Protected Documents consistent with the

                      requirements of the Federal Rules of Civil Procedure, setting forth the

                      basis for the claim of privilege or other protection. If any portion of the

                      Protected Document does not contain privileged or protected information,

                      Quattrone shall also provide to the Receiving Party a redacted copy of the

                      Document that omits the information that the Producing Party believes is

                      subject to a claim of privilege or other protection.

               (b)    The Receiving Party must, within ten (10) days of receiving Quattrone’ s

                      written notification described above, return, sequester, or destroy the

                      Protected Document and any copies, along with any notes, abstracts or

                      compilations of the content thereof. If a Protected Document has been

                      loaded into a litigation review database under the control of the Receiving

                      Party, the Receiving Party shall have all electronic copies of the Protected

                      Document extracted from the database.

       5.      If the information contained in a Protected Document has already been used in or

described in other documents generated or maintained by the Receiving Party prior to the date of

receipt of written notice by Quattrone as set forth in paragraphs 3(b) and 4(a), then the Receiving

Party shall sequester such documents until the claim has been resolved. If the Receiving Party




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disclosed the Protected Document before being notified of its inadvertent production, it must

take reasonable steps to retrieve it.

        6.      The Receiving Party’s return, sequestering or destruction of Protected Documents

as provided herein will not act as a waiver of the Requesting Party’s right to move for the

production of the returned, sequestered or destroyed documents on the grounds that the

documents are not, in fact, subject to a viable claim of privilege or protection. However, so long

as the attempted clawback or designation of a Document as a Protected Document occurs within

sixty (60) days of Quattrone’ s initial production of the Document, the Receiving Party is

prohibited and estopped from arguing that:

                (a)     The disclosure or production of the Protected Documents acts as a waiver

                        of an applicable privilege or evidentiary protection;

                (b)     The disclosure of the Protected Documents was not inadvertent; or

                (c)     Quattrone did not take reasonable steps to prevent the disclosure of the

                        Protected Documents;

                (d)     Quattrone failed to take reasonable or timely steps to rectify the error

                        pursuant to Federal Rule of Civil Procedure 26(b)(5)(B),or comparable

                        State rules, or otherwise.

        7.      Either party or Quattrone may submit Protected Documents to the Court under

seal for a determination of the claim of privilege or other protection. Quattrone shall preserve the

Protected Documents until such claim is resolved. The Receiving Party may not use the

Protected Documents for any purpose absent this Court’s Order.

        8.      Upon a determination by the Court that the Protected Documents are protected by

the applicable privilege or evidentiary protection, and if the Protected Documents have been



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sequestered rather than returned or destroyed by the Receiving Party, the Protected Documents

shall be returned or destroyed within 10 (ten) days of the Court’s order. The Court may also

order the identification by the Receiving Party of Protected Documents by search terms or other

means.

         9.    Quattrone represents that it is not asserting an attorney-client relationship with

Malcom Bryant, the Estate of Malcom Bryant, Lamar Estep, or Malique Bryant.


         10.   Once executed by all parties, the Stipulation shall be by treated by the parties as

an Order of Court until it is formally approved by the Court.

         11.   By operation of the parties’ agreement and Court Order, the parties are

specifically afforded the protections of FRE 502 (d) and (e).


STIPULATED TO THIS 8TH DAY OF JULY, 2020


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SO ORDERED:




The Honorable Ellen L. Hollander
United States District Judge


Date:




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